Case 1:16-cr-00064-JRH-BKE Document 52 Filed 06/29/18 Page 1 of 3




          IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION




UNITED STATES OF AMERICA          *
                                  *


     V.                           *           CR 116-064
                                  *


KATHY BUFFINGTON                  *




                             ORDER




     On December 16, 2016, Defendant Kathy Buffington pled

guilty to one count of conspiracy to distribute and possess

with intent to distribute controlled substances, a violation

of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 846.        On February 2,

2017, Buffington was sentenced to 60 months' imprisonment,

three years of supervised release, a fine of $2,000, and a

$100 special assessment. Buffington is currently incarcerated

at the Federal Prison Camp in Alderson, West Virginia, a

facility recommended in her Judgment and Commitment Order.

(Doc. 40, at 2.)

     Presently, Buffington moves this Court to recommend to

the Bureau of Prisons ("BOP") that her last twelve months be

served     in   a    community    correctional     facility;        more

specifically, six months at a Residential Reentry Center,

i.e., a halfway house, and six months of home confinement.

(Doc. 51.)
Case 1:16-cr-00064-JRH-BKE Document 52 Filed 06/29/18 Page 2 of 3




      Once a federal court has imposed a sentence, the BOP

assumes legal authority over the offender.             Only the BOP can

designate the place of an inmate's imprisonment.                   See 18

U.S.C. § 3621(b).         The Eleventh Circuit has stated that the

BOP should be afforded wide discretion in classifying and

housing prisoners.        United States v. Ramdeo. 705 F. App'x 839

(11'"'' Cir. 2017).     Under 18 U.S.C. § 3624(c), the BOP may grant

pre-release custody to an inmate, which would allow her to

serve a portion of her federal sentence in the community,

whether by home confinement or in a community correctional

facility.    The BOP considers five factors listed in § 3621(b),

as   well   as   the    guidelines   in    §   3621(c)(1),   to   make   an

individual determination on each inmate.             One of the factors

relevant here is "any statement by the court that imposed the

sentence (A) concerning the purposes for which the sentence to

imprisonment      was     determined      to   be   warranted;    or     (B)

recommending a type of penal or correctional facility as

appropriate."     18 U.S.C. § 3621(b)(4).

      In this case, the Court set forth its reasons for the

sentence imposed on the record at the sentencing hearing and

recommended the Alderson facility.             The Court did not make a

recommendation on pre-release custody.               It is the Court's

considered view that the BOP is much better positioned to

evaluate the individual circumstances of an inmate to include


her accomplishments,        behavior record and other         mitigating
Case 1:16-cr-00064-JRH-BKE Document 52 Filed 06/29/18 Page 3 of 3




factors. While this Court commends Buffington's initiative in

filing the   motion and in      her stated desire      to become    a

productive member of society at the earliest opportunity, this

Court will not offer an opinion - one way or another - as to

Buffington's suitability for pre-release custody.           The Court

will leave this eligibility determination to the experienced

discretion of the BOP.


     Upon    the   foregoing,     Buffington's     motion     for   a

recommendation from this Court (doc. 51) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this

of June, 2018.




                                     J.              sf CHIEF JUDGE
                                     UNIT            DISTRICT COURT
                                    SOUTH      DISTRICT OF GEORGIA
